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Lori Gracey
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To Whom it May Concern:
This letter is provided as a character reference for Brandon Prenzlin.
I first made Brandon’s acquaintance in 2019 when he was working with FreedomWorks in
Washington D.C. At that time, he was responsible for coordinating grassroots activists during a
fly-in, and directing the activists in their lobbying efforts on Capitol Hill. We had additional
opportunities to work together on similar projects over the next several years in Washington
D.C., Orlando, Florida and Tulsa, Oklahoma.
More recently, I have worked with Brandon on a US Senate race in Oklahoma. During this time,
my husband and I have hosted Brandon in our home. Not only has he been an astute work
colleague, but he has also been a most pleasant and dependable house guest.
Brandon has a diligent work ethic and demonstrates dependability in his work responsibilities.
He is a self-starter who takes initiative to perform above and beyond the requirements set by his
clients. Brandon is a team player which is evidenced by the relationships he has developed with
activists and work colleagues who continue to consult with him for his expertise in the areas of
politics, government policy, and political campaigns.
It is my opinion that Brandon Prenzlin is a young man of great integrity and trustworthiness. His
indiscretion on January 6 was not indicative of his usual judgment and he knows that he has made
a mistake and is remorseful for it.
Yours for Liberty and Justice,
Lori Gracey

Lori K. Gracey
Founder
Constitutional Grounds
